Case 1:18-cv-12485-NMG Document 35-1 Filed 04/19/19 Page 1 of 17




          Exhibit 1
     Case 1:18-cv-12485-NMG Document 35-1 Filed 04/19/19 Page 2 of 17



                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS

                                    :
KAPPA ALPHA THETA FRATERNITY,       :
INC.; KAPPA KAPPA GAMMA             :
FRATERNITY; SIGMA CHI; SIGMA        :
ALPHA EPSILON; SIGMA ALPHA          :
EPSILON--MASSACHUSETTS GAMMA;       :
JOHN DOE 1; JOHN DOE 2; JOHN DOE 3, :
                                            Civil Action No. 18-cv-12485-NMG
                                    :
            Plaintiffs,             :
                                            Oral Argument Requested
                                    :
       v.                           :
                                    :
HARVARD UNIVERSITY; PRESIDENT       :
AND FELLOWS OF HARVARD COLLEGE :
(HARVARD CORPORATION),              :
                                    :
            Defendants.             :
                                    :

  DEFENDANT PRESIDENT AND FELLOWS OF HARVARD COLLEGE’S REPLY
             MEMORANDUM OF LAW IN SUPPORT OF ITS
               MOTION TO DISMISS THE COMPLAINT
          Case 1:18-cv-12485-NMG Document 35-1 Filed 04/19/19 Page 3 of 17



                                                   TABLE OF CONTENTS

                                                                                                                                     Page

INTRODUCTION ...........................................................................................................................1

ARGUMENT ...................................................................................................................................1
    I.    THE ORGANIZATIONAL PLAINTIFFS AND JOHN DOE 3 LACK
          STANDING. ............................................................................................................1
          A.          The Court Cannot Assume That Any Plaintiff Has Standing. .....................1
          B.          The Organizational Plaintiffs Lack Standing. ..............................................2
          C.          John Doe 3 Lacks Standing..........................................................................3
    II.   THE TITLE IX CLAIMS SHOULD BE DISMISSED. ..........................................4
          A.          The Complaint Does Not State A Claim For Per Se Sex
                      Discrimination..............................................................................................4
          B.          The Complaint Does Not State A Claim For Associational
                      Discrimination..............................................................................................6
          C.          The Complaint Does Not State A Claim For Sex Stereotyping Or
                      Anti-Male Bias. ............................................................................................7
    III.  THE MCRA CLAIM SHOULD BE DISMISSED. .................................................8

CONCLUSION ..............................................................................................................................10




                                                                     i
          Case 1:18-cv-12485-NMG Document 35-1 Filed 04/19/19 Page 4 of 17



                                                TABLE OF AUTHORITIES

                                                                                                                                 Page(s)

Cases

Bally v. Northeastern Univ.,
   403 Mass. 713 (1989) ............................................................................................................8, 9

Buster v. George W. Moore, Inc.,
   438 Mass. 635 (2003) ................................................................................................................9

Cleaves v. City of Chicago,
   68 F. Supp. 2d 963 (N.D. Ill. 1999) ...........................................................................................5

Fenn v. Mansfield Bank,
   2015 WL 628560 (D. Mass. Feb. 12, 2015) ..............................................................................7

Franchina v. City of Providence,
   881 F.3d 32 (1st Cir. 2018) ........................................................................................................4

Glovsky v. Roche Bros. Supermarkets, Inc.,
   469 Mass. 752 (2014) ................................................................................................................9

Higgins v. New Balance Athletic Shoe, Inc.,
   194 F.3d 252 (1st Cir. 1999) ......................................................................................................4

Hively v. Ivy Tech Cmty. Coll.,
   853 F.3d 339 (7th Cir. 2017) .................................................................................................4, 5

Holcomb v. Iona Coll.,
   521 F.3d 130 (2d Cir. 2008).......................................................................................................6

Houlton Citizens’ Coal. v. Town of Houlton,
   175 F.3d 178 (1st Cir. 1999) ......................................................................................................2

Hunt v. Washington State Apple Adver. Comm’n,
   432 U.S. 333 (1977) ...................................................................................................................2

Jackson v. Birmingham Bd. of Educ.,
   544 U.S. 167 (2005) ...................................................................................................................8

Kennie v. Natural Res. Dep’t of Dennis,
   451 Mass. 754 (2008) ..........................................................................................................9, 10

Loving v. Virginia,
   388 U.S. 1 (1967) .......................................................................................................................5



                                                                     ii
          Case 1:18-cv-12485-NMG Document 35-1 Filed 04/19/19 Page 5 of 17



Lujan v. Defenders of Wildlife,
   504 U.S. 555 (1992) ...............................................................................................................2, 4

McGinest v. GTE Serv. Corp.,
  360 F.3d 1103 (9th Cir. 2004) ...................................................................................................7

NAACP v. Harris,
  567 F. Supp. 637 (D. Mass. 1983) .............................................................................................3

Pagan v. Calderon,
   448 F.3d 16 (1st Cir. 2006) ........................................................................................................4

Pheasant Ridge Assocs. Ltd. P’ship v. Town of Burlington,
   399 Mass. 771 (1987) ..............................................................................................................10

Price Waterhouse v. Hopkins,
    490 U.S. 228 (1989) ...............................................................................................................7, 8

Reprod. Rights Network v. President of Univ. of Mass.,
   45 Mass. App. Ct. 495 (1998) ....................................................................................................9

S.S. v. City of Springfield,
    332 F. Supp. 3d 367 (D. Mass. 2018) ........................................................................................2

Sheffield v. Pieroway,
   361 F. Supp. 3d 160 (D. Mass. 2019) ........................................................................................9

Sierra Club v. Morton,
    405 U.S. 727 (1972) ...................................................................................................................4

Simon v. E. Ky. Welfare Rights Org.,
   426 U.S. 26 (1976) .....................................................................................................................3

Zarda v. Altitude Express, Inc.,
   883 F.3d 100 (2d Cir. 2018)...........................................................................................4, 5, 6, 7




                                                                    iii
        Case 1:18-cv-12485-NMG Document 35-1 Filed 04/19/19 Page 6 of 17



                                         INTRODUCTION

        Plaintiffs have not pleaded any claim under any recognized body of law that gives them a

right to overturn Harvard’s policy. The organizational Plaintiffs (i.e., the fraternities and

sororities) and the student who is exempt have no right even to sue over a policy that simply does

not apply to them. And on the merits, a policy that applies to all students is not sex

discrimination under Title IX, especially since it is not based on any desire to treat one sex less

favorably than the other. Indeed, no court has ever read Title IX to grant students the inalienable

right to join a single-sex fraternity or sorority, and this Court should not be the first.

        The Massachusetts Civil Rights Act (“MCRA”) likewise does not apply. Plaintiffs

voluntarily subjected themselves to Harvard’s policy: they cannot now convert that policy into

“threats, intimidation, or coercion” under state law. Plaintiffs want a Harvard education and a

Harvard degree without having to live by Harvard’s rules, which allocate Harvard’s resources

and institutional endorsements in accordance with the university’s core values of inclusion and

nondiscrimination. Neither federal nor state law entitles Plaintiffs to join a discriminatory group

free of any consequences, or to compel Harvard to give them its institutional endorsement. No

civil-rights law requires this Court to upend a sound policy, applicable to all students equally,

that does not even prohibit anyone from joining any single-sex organization. The Court should

dismiss Plaintiffs’ claims in their entirety.

                                            ARGUMENT

I.      THE ORGANIZATIONAL PLAINTIFFS AND JOHN DOE 3 LACK STANDING.

        A.      The Court Cannot Assume That Any Plaintiff Has Standing.

        Plaintiffs argue that the Court need not address Harvard’s challenge as to the standing of

six Plaintiffs because the other two have adequately pleaded standing. Opp. 5. Courts in this

District, however, have rejected this argument, holding to the contrary that, under Article III,

                                                   1
         Case 1:18-cv-12485-NMG Document 35-1 Filed 04/19/19 Page 7 of 17



each party must show in district court that it has standing, not just “that one named plaintiff has

standing.” S.S. v. City of Springfield, 332 F. Supp. 3d 367, 373 n.6 (D. Mass. 2018). 1

         If this case were to proceed, each plaintiff would have to substantiate its standing

allegations and maintain standing throughout the lawsuit. E.g., Lujan v. Defenders of Wildlife,

504 U.S. 555, 560-61 (1992). If a plaintiff has not even pleaded standing, the plaintiff is not

properly part of the case. This is not only the law, but also an important means of preserving

judicial resources. The potential to narrow the case (if it is not dismissed entirely) is particularly

apparent here because none of the organizational plaintiffs has pleaded standing. 2

         B.       The Organizational Plaintiffs Lack Standing.

         The organizations cannot sue on behalf of others because they have not satisfied the

requirements for associational standing, and they do not even claim to have third-party standing.

         First, the sorority Plaintiffs cannot allege injury to their members, as they have no

members. Their response is that membership is not required, but they cite no case allowing

organizations to invoke the rights of former members. The two unusual cases that they do cite

are inapposite. In Hunt v. Washington State Apple Advertising Commission, 432 U.S. 333

(1977), the Court held that a state body could sue on behalf of the apple growers it currently

represented because “they possess[ed] all of the indicia of membership in an organization,” such

as the ability to vote, hold office, and pay dues. Id. at 344-45. The plaintiff sororities do not

allege that former members retain any, never mind all, of the “indicia of membership.” And in


1
  The rules are different when a case is on appeal after final judgment; the cases Plaintiffs cite establish only that an
“appellate court need not verify the independent standing” of every plaintiff if one plaintiff has standing. S.S., 332
F. Supp. 3d at 373 n.6 (quoting Houlton Citizens’ Coal. v. Town of Houlton, 175 F.3d 178, 183 (1st Cir. 1999)
(emphasis added)). But this case is not an appeal, and those cases do not apply. As discussed, there are practical
reasons a trial court, as opposed to the appeals court, must determine the standing of each plaintiff.
2
  The Court also has ruled that “if this case proceeds beyond the motion to dismiss stage, the student plaintiffs will
not be permitted to proceed anonymously,” Dkt. No. 25, at 1; that is a further reason to dismiss an individual
plaintiff who has not adequately pleaded standing.

                                                            2
       Case 1:18-cv-12485-NMG Document 35-1 Filed 04/19/19 Page 8 of 17



NAACP v. Harris, 567 F. Supp. 637 (D. Mass. 1983), the court held that the Boston NAACP

could sue on behalf of “all the black people in metropolitan Boston,” because the group was its

“constituency” and the NAACP had the “historic role” of representing them. Id. at 640. These

sororities have no such role. Nonmember students can assert their own rights if they choose.

       Second, on germaneness, the organizational Plaintiffs insist that this lawsuit aims to

“protect a defining characteristic of their organizations—their single-sex character.” Opp. 8.

But Harvard’s policy does not require that they change this character; it does not regulate these

organizations in any respect. Rather, Harvard is simply determining how it will allocate some of

its own endorsements and other resources among its students.

       Third, Plaintiffs do not challenge Harvard’s showing (Mem. 8-9) that this case requires

fact-intensive and individualized inquiries into at least the “threats, intimidation or coercion”

element. The necessary participation of members alone defeats associational standing.

       Unable to sue on behalf of members, the entity Plaintiffs contend that they have

“organizational standing” to sue on their own behalf. Opp. 6. But the Complaint nowhere

alleges that the organizations’ protected rights have been interfered with; it alleges only

interference with unnamed members’ rights (members the sorority plaintiffs do not have). See

Mem. 6. And the Complaint itself shows that the asserted harm is traceable not to Harvard’s

policy, but to students’ choices. See id. at 6 n.3; Simon v. E. Ky. Welfare Rights Org., 426 U.S.

26, 41-43 (1976) (no standing where injury resulted from a third party’s “independent action”).

       C.      John Doe 3 Lacks Standing.

       John Doe 3, an upperclassman not subject to the policy, has pleaded no injury to himself.

He claims “psychic and reputational harm,” apparently based on the Complaint’s allegation that

he suffered “stigma[]” as a result of the application of the policy to others. Opp. 8; Compl. ¶ 53.

That unprecedented assertion of standing based on “stigma by proxy” does not plead a plausible
                                                  3
         Case 1:18-cv-12485-NMG Document 35-1 Filed 04/19/19 Page 9 of 17



injury. See Mem. 10 n.5. Plaintiffs also claim that the policy harms John Doe 3’s organization

and makes him work harder to help it. Opp. 8-9. But John Doe 3 must show injury particular to

him, not an injury to his organization (or one “derivative of” harm to his organization). Pagan v.

Calderon, 448 F.3d 16, 30 (1st Cir. 2006); see Lujan, 504 U.S. at 560 n.1. 3

II.      THE TITLE IX CLAIMS SHOULD BE DISMISSED.

         A.       The Complaint Does Not State A Claim For Per Se Sex Discrimination.

         In its opening brief, Harvard explained that its sex-neutral policy does not discriminate

based on sex: all students—regardless of gender—face the same consequence if they join an

unrecognized single-gender social organization. Plaintiffs attempt to analogize to two out-of-

circuit cases about whether sexual-orientation discrimination in employment is actionable as sex

discrimination under Title VII. Even if the First Circuit would endorse that broad theory of sex

discrimination and apply it to Title IX, which it has not done, 4 the analogy still fails. Plaintiffs

ignore the elephant in the room: their own exclusionary policies.

         The sexual-orientation-discrimination cases focused on whether the gay or lesbian

plaintiff’s sex was a but-for cause of an alleged adverse employment action. As the Seventh

Circuit put it, “if [the plaintiff] had been a man married to a woman . . . and everything else had

stayed the same, [the defendant] would not have fired her. . . . This describes paradigmatic sex

discrimination.” Hively v. Ivy Tech Cmty. Coll., 853 F.3d 339, 358 (7th Cir. 2017) (en banc);

Zarda v. Altitude Express, Inc., 883 F.3d 100, 119 (2d Cir. 2018) (en banc).

3
 Plaintiffs do not deal with Pagan’s rejection of “derivative injury” at all. They rely on Sierra Club v. Morton, 405
U.S. 727 (1972), which holds only that economic harm to the plaintiff is injury. Id. at 733-34.
4
  Contrary to the Second and Seventh Circuits, the First Circuit has held that “Title VII does not proscribe
harassment simply because of sexual orientation.” Higgins v. New Balance Athletic Shoe, Inc., 194 F.3d 252, 259
(1st Cir. 1999); see also Franchina v. City of Providence, 881 F.3d 32, 54-55 (1st Cir. 2018) (holding that a plaintiff
may rely on sexual-orientation evidence to prove a hostile work environment claim so long as the plaintiff also
presents evidence of sex discrimination). Plaintiffs thus rest their per se discrimination theory on a line of cases
inconsistent with First Circuit precedent, and on which there is a deep circuit conflict. See, e.g., Pet. for a Writ of
Certiorari at 11-13, Altitude Express Inc. v. Zarda, No. 17-1623 (U.S. filed May 29, 2018).

                                                           4
        Case 1:18-cv-12485-NMG Document 35-1 Filed 04/19/19 Page 10 of 17



        Try as they might, Plaintiffs cannot make that analysis fit this case: Plaintiffs assert that

“[b]ut for the fact that she is a woman, a woman could freely join an all-female organization.”

Opp. 10. This argument makes no sense. Plaintiffs’ own exclusionary policies mean that, if she

were not a woman, the all-female organizations would not admit her; if the organizations did

admit men, they would no longer be exclusionary. All students, male or female, can still join an

organization with such an exclusionary policy, but all face the same consequences under

Harvard’s sex-neutral policy if they do. Plaintiffs thus have not alleged that the policy treats

anyone differently because he is a man or she is a woman. The but-for cause of the treatment

Plaintiffs complain about is the exclusionary nature of the organizations themselves.

        Neither Hively nor Zarda endorses Plaintiffs’ novel theory that equal treatment can be

per se discrimination. In Hively, the inquiry was whether a particular employment action

“disadvantage[ed]” the plaintiff “because she is a woman.” 853 F.3d at 345-46 (emphasis in

original). In answering that question, the court relied on “the gender non-conformity line of

cases” to hold that “Hively represents the ultimate case of failure to conform to the female

stereotype.” Id. at 346. 5 Here, by contrast, the Complaint fails to allege any link between gender

stereotypes or bias and the choice Harvard’s policy presents to all undergraduates, regardless of

sex or stereotyping. See Mem. 14-16; infra, pp. 7-8. 6


5
  See also Zarda, 883 F.3d at 118-19 (recognizing that employers may impose sex-specific policies only if they
impose the same burden irrespective of gender). The snippet Plaintiffs quote from Zarda is actually from its
discussion of associational discrimination, id. at 124-28, which is discussed below.
6
  For the same reason, the Supreme Court’s decision in Loving v. Virginia, 388 U.S. 1 (1967), is inapposite. The
Court in that case rejected the State’s “equal application” theory because the racial classification rested on
“invidious racial discrimination,” and because the State’s policy “prohibit[ed] only interracial marriages involving
white persons.” Id. at 8, 11. “Changing the race of one partner made a difference in determining the legality of the
conduct,” so it was race discrimination. Hively, 853 F.3d at 348 (explaining Loving). Harvard’s policy is much
more akin to the policy at issue in Cleaves v. City of Chicago, 68 F. Supp. 2d 963 (N.D. Ill. 1999). See Mem. 11.
Plaintiffs argue that Cleaves pre-dated the legalization of same-sex marriage, but this context is irrelevant to the
Court’s holding that a policy providing certain benefits only to unmarried, cohabiting same-sex couples—and not to
unmarried, cohabiting opposite-sex couples—does not discriminate on the basis of sex, even though it takes sex into
account, because it “treats men and women exactly the same.” 68 F. Supp. 2d at 967.

                                                         5
        Case 1:18-cv-12485-NMG Document 35-1 Filed 04/19/19 Page 11 of 17



         B.       The Complaint Does Not State A Claim For Associational Discrimination.

         Plaintiffs’ associational discrimination theory is similarly inconsistent with precedent.

Courts have confined associational discrimination claims to situations where the defendant

“disapproves of” certain associations on the basis of a protected characteristic. See, e.g.,

Holcomb v. Iona Coll., 521 F.3d 130, 139 (2d Cir. 2008) (“[W]here an employee is subjected to

adverse action because an employer disapproves of interracial association, the employee suffers

discrimination because of the employee’s own race”). 7 Plaintiffs, however, have failed to allege

that Harvard implemented the challenged policy because it disapproves of men associating with

other men, or women associating with other women. See Mem. 12-16; infra, pp. 7-8.

         Plaintiffs try to equate disapproval of fraternities and sororities with disapproval of

associations between people of the same sex. First, the allegations in the Complaint do not back

up their claim. As explained at pp. 7-8, infra, Plaintiffs at most have alleged that Harvard

disapproves of certain conduct associated with unrecognized single-gender social organizations.

Second, even disapproval of “fraternities and sororities” (rather than conduct) would not support

an inference that Harvard objects to men associating with men or women associating with

women. Moreover, Plaintiffs have not cited any case where a court has equated disapproval of

membership in an organization with disapproval based on race or sex. All of the cases Plaintiffs

cite involve general disapproval of a broad category of relationships. See, e.g., Zarda, 883 F.3d

7
  As Harvard explained (Mem. 12-13), Zarda applies exactly this rule to associational discrimination, citing
Holcomb. 883 F.3d at 124, 128 (“[T]he source of the Title VII claim is not the employee’s associational act but
rather the employer’s discrimination, which is motivated by disapproval of a particular type of association.” (internal
brackets and quotation marks omitted)). After relying heavily on Zarda to support their per se discrimination claim,
Plaintiffs all but ignore Zarda’s separate discussion of associational discrimination—except to portray a snippet
from that discussion as if it addressed per se discrimination, see Opp. 10. Plaintiffs’ only attempt to grapple with
this aspect of Zarda’s reasoning (Opp. 13) is to cite a footnote clarifying that “malice” is not a necessary element of
a Title VII associational discrimination claim. 883 F.3d at 127 n.29. While true, that does nothing to obscure
Zarda’s relevant holding: to show associational discrimination, Plaintiffs need to allege that Harvard implemented
the policy because it disapproves of certain associations between men and men, or between women and women,
because of the sex of the people involved. As discussed below, Plaintiffs have alleged neither such disapproval nor
any facts supporting it.

                                                          6
        Case 1:18-cv-12485-NMG Document 35-1 Filed 04/19/19 Page 12 of 17



at 124 (same-sex romantic relationships); McGinest v. GTE Serv. Corp., 360 F.3d 1103, 1118

(9th Cir. 2004) (interracial friendships). 8 Adopting Plaintiffs’ associational discrimination

theory would constitute an unprecedented expansion of Title IX’s scope.

         C.       The Complaint Does Not State A Claim For Sex Stereotyping Or Anti-Male
                  Bias.

         Plaintiffs’ own paraphrasing of the allegations in the Complaint confirms that the

Complaint does not plausibly allege that Harvard’s policy discriminates based on sex stereotypes

or anti-male bias. The Complaint, Plaintiffs say, “details Harvard administrators’ repeated

statements that men who belong to men’s organizations are . . . more likely to sexually assault

women and promote bigotry.” Opp. 14. This is an allegation that Harvard acted based on

conduct, not on perceived “male” or “female” characteristics. 9

         Citing Price Waterhouse v. Hopkins, 490 U.S. 228 (1989), Plaintiffs argue that there is no

distinction between sex and conduct. But Price Waterhouse held that discrimination against

women who “behave aggressively” is based on a stereotype that women should not behave

aggressively, even though men may. Id. at 250-51 (plurality opinion). The Complaint does not

allege that Harvard believed women should not join single-sex organizations because it is not

feminine to do so or men because it is not masculine to do so; it alleges that Harvard expressed

the view that neither women nor men should join those organizations because “men and women


8
 There is a separate species of associational discrimination claim in which the plaintiff alleges that, although he is
not a member of a certain protected class, he has suffered injury on account of discrimination against someone with
whom he associates, who is a member of that protected class. See, e.g., Fenn v. Mansfield Bank, Civ. A No. 14-
12554-NMG, 2015 WL 628560, at *4 (D. Mass. Feb. 12, 2015) (involving associational discrimination claim based
on male employee’s association with disabled wife). Plaintiffs cannot make out such a claim here, because all
members of unrecognized single-gender social organizations share the same relevant characteristic.
9
  Plaintiffs speculate wildly that if Harvard is motivated not by conduct, but by bias against fraternity and final club
members (which would not be an actionable sex-discrimination theory standing alone), perhaps Harvard is biased
against all men. See Opp. 16. That speculation does not support a plausible claim of anti-male bias. For one thing,
the policy applies equally to sorority and fraternity members; does that mean Plaintiffs think Harvard is biased
against all women and all men? Indeed, Plaintiffs never reconcile their allegation (Compl. ¶ 1) that the policy has
hurt “all-female social clubs … the most” with their claim that the policy is driven by anti-male bias.

                                                           7
        Case 1:18-cv-12485-NMG Document 35-1 Filed 04/19/19 Page 13 of 17



who join single-sex organizations do not act like modern men and women.” Compl. ¶ 209. A

perceived “lack of modernity” that applies to men and women alike is not sex stereotyping.

         Last, Plaintiffs are wrong that a claim of sex-stereotyping or anti-male bias need not

allege disparate treatment. Opp. 15-16. The law is clear that disparate treatment is required, see

Mem. 15-16; Price Waterhouse, 490 U.S. at 251, and neither Zarda nor Jackson v. Birmingham

Board of Education, 544 U.S. 167 (2005), holds otherwise. See pp. 4-5, supra; 544 U.S. at 174

(retaliation for complaining about discrimination is itself “a form of ‘discrimination’ because the

complainant is being subjected to differential treatment” (emphasis added)). 10

III.     THE MCRA CLAIM SHOULD BE DISMISSED.

         Plaintiffs have come nowhere close to satisfying the MCRA’s “threats, intimidation, or

coercion” element. The challenged policy applies only prospectively—to students who applied

to, and chose to enroll at, Harvard after the policy was announced. These students voluntarily

chose Harvard, rather than a school that fosters fraternity life. That rules out any claim of

coercion. Plaintiffs have almost no response—just a brief footnote where they assert (citing

nothing) that they “never ‘voluntarily accepted’ Harvard’s policy” and have “always believed it

is unlawful.” Opp. 19 n.2. Believing a policy to be unlawful when you voluntarily accept it does

not give you an MCRA cause of action for “threats, intimidation, or coercion.”

         Any threats, intimidation, or coercion must also be “individualized” and “threaten . . .

serious harm” to support MCRA liability, as the SJC held in Bally v. Northeastern University,

403 Mass. 713, 720 (1989). Mem. 17. Remarkably, Plaintiffs actually assert (Opp. 18) that

Harvard “made up” the elements of the MCRA that were quoted verbatim from the SJC’s



10
   Plaintiffs are correct that the Court therefore must “ask whether the . . . [p]olicy treats a woman in a particular
situation just as it would treat a man in the same situation.” Opp. 15. The answer is “yes”: all members of
unrecognized single-sex social organizations, regardless of gender, are subject to the policy.

                                                            8
        Case 1:18-cv-12485-NMG Document 35-1 Filed 04/19/19 Page 14 of 17



decision. Bally, 403 Mass. at 720 (finding no MCRA violation because the plaintiff “alleges

neither an individualized threat nor a threat of serious harm”). Contrary to Plaintiffs, Bally

remains good law—indeed, the SJC routinely cites Bally when describing the contours of MCRA

claims. See, e.g., Glovsky v. Roche Bros. Supermarkets, Inc., 469 Mass. 752, 762-63 (2014);

Buster v. George W. Moore, Inc., 438 Mass. 635, 644-46 (2003); accord, e.g., Sheffield v.

Pieroway, 361 F. Supp. 3d 160, 166 (D. Mass. 2019).

         To the extent that Plaintiffs engage with Bally, their proffered distinctions are

unpersuasive. They claim that Northeastern’s policy, which applied to membership on sports

teams, was “indiscriminate,” whereas Harvard’s policy, which applies to undergraduates who

seek leadership positions on any club or team (or apply for fellowships), is “not indiscriminate”

but “specifically” “target[ed].” Opp. 19. That makes no sense, and in any event misses the point

of Bally—that the MCRA is not the right vehicle to challenge a broadly applicable policy.

Reproductive Rights Network v. President of University of Massachusetts, 45 Mass. App. Ct. 495

(1998), which Plaintiffs also cite, illustrates that point: the challenged university action in that

case was “directed specifically” at certain individuals who sought to organize a particular

demonstration. Id. at 507 (distinguishing Bally on this basis).

         The consequences of the challenged policy are also insufficiently serious under Bally, see

Mem. 19, and Plaintiffs’ assertion (Opp. 19-20) that Harvard’s policy “denies them access to

some of Harvard’s most valuable opportunities” in no way engages with the substance of

Harvard’s argument or sufficiently states a claim under the law. 11 Plaintiffs argue that “a

plaintiff can bring a MCRA claim even if the threatened consequence is uncertain.” Opp. 19.

But the cases Plaintiffs cite for this proposition say nothing of the sort. In Kennie v. Natural
11
   For this reason, Plaintiffs’ lengthy discussion of the value of the Rhodes Scholarship and other leadership
positions is legally irrelevant: under Bally, losing access to these sorts of extracurricular opportunities is simply not
enough to give rise to MCRA liability.

                                                            9
        Case 1:18-cv-12485-NMG Document 35-1 Filed 04/19/19 Page 15 of 17



Resource Department of Dennis, 451 Mass. 754 (2008), the defendant did not just make vague,

open-ended threats, but took active steps to interfere with the plaintiffs’ property rights through

fraudulent means. Id. at 760-61. And in Pheasant Ridge Associates Limited Partnership v.

Town of Burlington, 399 Mass. 771 (1987), the court merely held that the meaning of a threat to

“take any action necessary” was a fact question appropriate for jury resolution in the context of

that case. Id. at 781-82. Here, there is no dispute about the consequences of Harvard’s policy

for a jury to resolve. 12

        Finally, and just as fundamentally, Plaintiffs have no response to Harvard’s explanation

as to why its policy is entirely consistent with equal protection. As explained above, the policy

is not sex-discriminatory. And even if it were, Plaintiffs entirely fail to engage with Harvard’s

compelling interest (Mem. 20): allocating its own resources in ways that foster a culture of

inclusivity and advance its commitment to nondiscrimination.

                                                CONCLUSION

        The Court should dismiss the organizational Plaintiffs and John Doe 3 under Rule

12(b)(1). It should dismiss the entire Complaint under Rule 12(b)(6).




12
  Plaintiffs also assert in a vague and conclusory manner that Harvard has threatened expulsion of students who join
unrecognized single-sex social organizations—contrary to the terms of the policy—and has suggested that it might
leak negative information about members of such organizations. These assertions are factually incorrect, but, in any
event, Plaintiffs seek only prospective relief to invalidate and enjoin Harvard’s policy, not relief from any more
generalized alleged threats of retaliation. As the claims are against the policy, any coercion must come from the
policy itself, which does not contemplate expulsion or the public release of negative information. See Compl.,
Prayer for Relief.

                                                        10
      Case 1:18-cv-12485-NMG Document 35-1 Filed 04/19/19 Page 16 of 17



Dated: April 19, 2019                Respectfully submitted,

                                     PRESIDENT AND FELLOWS OF HARVARD
                                     COLLEGE

                                     By its attorneys,


                                     /s/ Roberto M. Braceras
                                     Roberto M. Braceras (BBO# 566816)
                                     Joshua J. Bone (BBO# 687722)
                                     Edwina B. Clarke (BBO# 699702)
                                     GOODWIN PROCTER LLP
                                     100 Northern Avenue
                                     Boston, Massachusetts 02210
                                     Tel.: +1 617 570 1000
                                     Fax.: +1 617 523 1231
                                     Email: rbraceras@goodwinlaw.com
                                     jbone@goodwinlaw.com
                                     eclarke@goodwinlaw.com

                                     William M. Jay (pro hac vice)
                                     GOODWIN PROCTER LLP
                                     901 New York Avenue NW
                                     Washington, DC 20001
                                     Tel.: +1 202 346 4000
                                     Fax.: +1 202 346 4444
                                     E-mail: wjay@goodwinlaw.com




                                     11
      Case 1:18-cv-12485-NMG Document 35-1 Filed 04/19/19 Page 17 of 17



                              CERTIFICATE OF SERVICE

       I, Roberto M. Braceras, hereby certify that on April 19, 2019, a true copy of the
foregoing Memorandum was served by CM/ECF upon all other counsel of record in this action.


April 19, 2019                                          /s/ Roberto M. Braceras
                                                        Roberto M. Braceras
